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 4

 5   Attorney for Defendant
     RAJU TOOR
 6

 7                      IN THE UNITED STATES DISTRICT COURT FOR THE
                               EASTERN DISTRICT OF CALIFORNIA
 8

 9   UNITED STATES OF AMERICA,                         )
                Plaintiff,                             )       CASE NO. 1:14-CR-00163-LJO-
10                                                     )       SKO_________
            vs.                                        )
11                                                     )       STIPULATION AND ORDER RE:
                                                       )       CONDITIONS OF RELEASE AND
12                                                     )       ORDER PERMITTING TRAVEL
     RAJU TOOR,
                     Defendant.                        )
13                                                     )
                                                       )
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                    The parties to this stipulation are Grant Rabenn, Assistant U.S. Attorney, for the
16   United States, and Ryan Roth, counsel for defendant Raju Toor.
17          It is hereby agreed and stipulated by the parties hereto that defendant Raju Toor shall be
18   permitted to travel to Reno, Nevada for business related training. Mr. Toor has secured a
19   reservation for this professional training and will be traveling from June 4, 2015, through June 5,

20   2015. It is understood that this travel is outside the Eastern District of California. A copy of the
     travel/seminar details has been provided to pre-trial services (Ryan Beckwith).
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            All other conditions shall remain in full force and effect. Defendant shall report to pre-
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     trial services within 24 hours of his return to the Eastern District of California.
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     IT IS SO STIPLUATED.
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          Case 1:14-cr-00163-DAD-BAM Document 33 Filed 05/22/15 Page 2 of 2


 1   DATED: May 20, 2015    .                  /s/ Grant Rabenn
 2                                             GRANT RABENN
                                               Assistant U.S. Attorney
 3

 4   IT IS SO STIPLUATED.

 5
     DATED: May 20, 2015    .                  /s/ Ryan A. Roth
 6
                                               RYAN A. ROTH
 7
                                               Attorney for Defendant
 8                                             Raju Toor

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11                                     ORDER

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     IT IS SO ORDERED.
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        Dated:   May 22, 2015                         /s/ Sheila K. Oberto
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                                              UNITED STATES MAGISTRATE JUDGE
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